         Case: 1:16-cv-05608 Document #: 7 Filed: 07/21/16 Page 1 of 1 PageID #:28



                                               AFFIDAVIT OF SERVICE
Court: IN THE UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF ILLINOIS,
EASTERN DIVISION
Case No.: 16 CV 05608
P1 intiff: Dimensions Medical Center, Ltd, an Illinois Corporation, individually and as the representative of a
c ss of similarly-situated persons
vs.
Defendant: Saratoga Diagnostics, Inc., et al.
I,     ((IS       sic rs.a -i-              being duly sworn on oath, depose and say the following:
I am over the age of 18, not a party to this action, and an employee/agent of Elite Process Serving and Investigations,
Inc., a licensed private detective agency, license number 117-001199.1 further acknowledge that I am authorized to
effectuate service of process in the State of Csk l i c-of YIN •^-
Type of Process: Alias Summons in a Civil Case, Class Action Complaint, and Exhibits A, B, and C
Defendant to be served: Saratoga Diagnostics, Inc., do Thomas G. Pallone
Address where attempted or served: 12619 Paseo Olivos, Saratoga, CA95070
On 07/ 121147 at        el :Cg PM   I ((Served ( ) Non-served the within named defendant in the following manner:

Li INDIVIDUAL SERVICE: By delivering a copy of this process to the within named Defendant personally.
EICORPORATE SERVICE: By leaving a copy of this process with ik 0 Ma S PCiN 0'14 t
(Title)45et PCIC Fren if@ a person authorized to accept service and informed the person of the contents thereof.

F1 SUBSTITUTE SERVICE: By leaving a copy of this process at his/her usual place of abode with
                         (Relationship)                     a person residing therein who is the age of 13 years or
upwards and informed that person of the contents thereof and that further mailed a copy of this process in a sealed
envelope with postage paid addressed to the defendant at his/her usual place of abode on                    2016.

11 NON SERVICE: I have been unable to effect service because of the following reason(s):


Description of person process was left with:

Sex:   Mckl P,   Race: Fitt c:)(kb Hair:   B ctc.k   Approx. Age:   ;5 l eAr C   Height:   5 el   Weight:   r7 Crs"-`el


Comments:
Under penalties as provided by law pursuant to Section 1-109 of the Code of Civil Procedure, the undersigned certifies
that the statements set forth in this instrument are true and correct, except as to matters therein stated to be on
information and belief and as to such matters the undersigned certifies as aforesaid that he/she verily believes the same
to be true.
FURTHER AFFIANT SAYETH NOT.
                                                               X
State of
                                                                       v1
County of                                                                        (Print Name)
Subscribed and Sworn to before me on this
e-&-
          day of         ‘VL-4,--  20 Ko                                                   WENQY L. SHETTERLY
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SiliiaitifeN of Notary\ub1ic                                                                 SANTA CLARA COUNTY
                                                                                            Comm. xp   APRILt917
 Job: 324266
 File:
